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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
                             Norfolk Division

UNITED STATES OF AMERICA

v.                                                 Criminal No. 2:15cr24

RONALD LAVERNE JOHNS, JR.,

             Defendant.


                              MEMORANDUM ORDER

      This matter is before the Court on Defendant Ronald Laverne

Johns, Jr.’s (“Defendant”) pro se motion for compassionate release

pursuant to 18 U.S.C. § 3582(c)(1)(A) due to the COVID-19 pandemic.

ECF No. 87.      The Government opposes Defendant’s motion on the

merits.      ECF No. 88.      Shortly after the Government filed its

opposition    brief,    counsel     for   Defendant     filed   a   memorandum

supporting Defendant’s pro se motion seeking compassionate release.

ECF No. 89. For the reasons stated below, Defendant’s compassionate

release motion is DENIED on the merits, although the Court makes a

favorable    recommendation    to   the   Bureau   of    Prisons    (“BOP”)   as

alternatively requested by defense counsel.

                        A. Administrative Remedies

      Pursuant to 18 U.S.C. § 3582, this Court “may not modify a

term of imprisonment once it has been imposed,” except in very

narrow circumstances.      18 U.S.C. § 3582(c).         One such circumstance

is when a federal inmate files a motion seeking “compassionate
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release” after pursuing administrative remedies through the BOP.

Here,   the   Government     does    not       challenge     the   sufficiency        of

Defendant’s efforts to exhaust his administrative remedies in light

of an administrative request for compassionate release Defendant

filed on June 16, 2020, with the Government instead arguing that

Defendant’s motion should be denied on the merits, see ECF No. 88,

at 9-10; ECF No. 88-3, at 2. In light of Defendant’s administrative

request(s),    the   Court   agrees      with    the    Government        that   it   is

appropriate to consider the merits of Defendant’s compassionate

release motion.

                                    B. Merits

      For the reasons set forth in the Government’s opposition

brief, ECF No. 88, and for those set forth below, the Court finds

that Defendant fails to demonstrate “extraordinary and compelling

reasons”   justifying    compassionate          release.       First      considering

Defendant’s    susceptibility       to   COVID-19,      Defendant      attempts       to

assert “under penalty of perjury” that he is “border line diabetic,”

has hypertension, and is obese. 1                ECF No. 87-1.            Defendant’s

counsel, in turn, submits that Defendant suffers from “prediabetes”

and “hypertension,” but offers no evidence in support, nor does

counsel    reference   obesity.          ECF    No.    89,   at    4-5.      Assuming

Defendant’s and counsel’s statements to be true for the purposes



1 Defendant’s purported affidavit, submitted as an attachment to his motion,
is not signed. ECF No. 87-1.

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of addressing this motion, Defendant has demonstrated some evidence

of an increased risk of severe illness from COVID-19, with “obesity”

being the greatest risk factor, albeit one that is not a permanent

condition.      See    https://www.cdc.gov/coronavirus/2019-ncov/need-

extra-precautions/people-at-increased-risk.html (last visited Nov.

3, 2020) (providing two lists of medical conditions, the first

listing   conditions       that   have    been    determined      to    present      an

increased    risk     of   severe   illness      from   COVID-19       (to    include

obesity), and a second listing conditions that “might” present an

increased risk (to include hypertension)). 2

      Although Defendant has arguably presented some evidence of a

particularized      susceptibility       to   COVID-19,    Defendant         fails   to

demonstrate    that    such   showing     coupled   with    his    conditions        of

confinement combine to constitute an “extraordinary and compelling”

reason justifying compassionate release.                See United States v.

White, -- F.     Supp.     3d --, No. 2:07cr150, 2020 WL 1906845, at *1

n.2 (E.D. Va. Apr. 17, 2020) (noting that “in the context of the

COVID-19 outbreak, courts have found extraordinary and compelling

reasons for compassionate release when an inmate shows both a



2 While Type II diabetes and Type I diabetes are conditions that respectively
present an increased risk or “might” present an increased risk, Defendant
has only stated that he is “border line diabetic” or “prediabetic” which,
absent further evidence, does not appear to qualify as a risk factor
identified by the CDC.     ECF No. 87-1.    The Court separately notes that
Defendant’s relatively young age (39) does not suggest a notably elevated
susceptibility to COVID-19.       See https://www.cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/older-adults.html (last visited Nov. 3, 2020).

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particularized susceptibility to the disease and a particularized

risk of contracting the disease at his prison facility” (emphasis

added) (quoting United States v. Feiling, No. 3:19cr112, 2020 WL

1821457 at *7 (E.D. Va. Apr. 10, 2020))).                    Notably, the BOP’s

publicly      reported   COVID-19   information          cited   by    the   parties

indicates that there are currently zero positive COVID-19 cases at

Defendant’s prison facility (Butner Medium II) among both inmates

and staff, and that since the beginning of the pandemic, only twelve

inmates and two staff members have tested positive for COVID-19

(all   have    now   recovered).    See       https://www.bop.gov/coronavirus/

(last visited Nov. 3, 2020). 3       Moreover, the BOP reports performing

nearly 350 COVID-19 tests on inmates that are currently housed at

Butner Medium II with a relatively low incidence of positive tests.

       Based on Defendant’s failure to demonstrate an “extraordinary

and compelling” reason warranting compassionate release, his motion

is DENIED.     ECF No. 87.    Consistent with what is required of every

non-incarcerated      individual    with       a     controllable     COVID-19    risk

factor,    Defendant     is   encouraged        to    actively   take    the     steps

necessary to improve his health/weight, to wear a mask, and to

otherwise be proactive in protecting his own well-being.



3 Both Defendant and his counsel accurately note that the Butner prison
complex, which includes multiple separate prison facilities, has experienced
a significant COVID-19 outbreak. See ECF Nos. 87, 89. However, as noted
above, the facility where Defendant is assigned, Butner Medium II, has
experienced very few cases and zero fatalities since the outset of the
pandemic. See https://www.bop.gov/coronavirus/ (last visited Nov. 3, 2020).

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      Notwithstanding      the     Court’s     denial     of    Defendant’s

compassionate release motion, the Court GRANTS defense counsel’s

alternative request for a non-binding recommendation to the BOP,

and hereby RECOMMENDS that: (1) the BOP re-evaluate Defendant for

release to home confinement; and (2) if a satisfactory release plan

can be developed addressing the “detainer” on Defendant from the

City of Virginia Beach, the Court further RECOMMENDS that the BOP

assign Defendant to serve the remainder of his sentence on home

confinement.     As argued by defense counsel, Defendant appears to

have worked toward his rehabilitation while incarcerated, does not

appear to have any recent incident reports, is/was working through

prison industries enterprise, and purportedly has strong family

support.   Defendant’s detainer resulting from his federal crime and

his “medium” BOP security level and “medium” recidivism risk score

appear to have contributed to the BOP previously determining that

Defendant should not be released to home confinement; however,

Defendant appears to dispute the continued accuracy of his BOP

classifications and asserts that he should be re-evaluated.              See

ECF No. 88-3, at 6.      Moreover, Defendant has served approximately

95% of his sentence (after “good time” credits) and is currently

scheduled to be released in February of 2021.            Because Defendant

will need to address his detainer whether he is released in November

or February, it does not appear that Defendant’s release to home

confinement at this time would materially increase his risk of


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contracting COVID-19, 4 nor does there appear to be a demonstrated

“risk to the public” in light of the percentage of the sentence

that Defendant has completed.         Accordingly, in light of Defendant’s

impending    release    date   and   other    relevant   factors,    the   Court

RECOMMENDS that the BOP release Defendant to home confinement in a

manner consistent with BOP           quarantine procedures if the BOP, in

conjunction    with    Defendant     and/or   his   counsel,   can   fashion   a

release plan that addresses the outstanding detainer.

      The Clerk is DIRECTED to forward a copy of this Order to

counsel for Defendant and counsel for the Government.

      IT IS SO ORDERED.




                                                       /s/
                                                 Mark S. Davis
                                       CHIEF UNITED STATES DISTRICT JUDGE
Norfolk, Virginia
           5
November ____, 2020




4 Even assuming that Defendant will need to be transferred into state custody
immediately upon his release from Butner (thus creating some risk that
Defendant is exposed to COVID-19 while in state custody), there appears to
be no material difference in exposure risk should such event occur in
November of 2020 rather than in February of 2021.

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